          Case 2:10-cr-00311-TSZ         Document 530        Filed 09/21/12      Page 1 of 3




01

02

03

04

05

06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. CR10-311-TSZ
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   AKOP GYULASARYAN,                    )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Commit Bank Fraud; Bank Fraud

15 Date of Detention Hearing:     September 21, 2012.

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably

19 assure the appearance of defendant as required and the safety of other persons and the

20 community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant was indicted on the above-referenced charges in August 2011. He



     DETENTION ORDER
     PAGE -1
          Case 2:10-cr-00311-TSZ          Document 530        Filed 09/21/12      Page 2 of 3




01 was arrested in the Central District of California in August 2012. This is his first appearance

02 before this Court. It is alleged that defendant was involved in a bank fraud scheme in which

03 the total loss was one million dollars, and that defendant has been a fugitive since the charges

04 were filed.

05          2.     Defendant was not interviewed by Pretrial Services. Accordingly, most of his

06 background information is unknown or unverified. Defendant is believed to be a non-citizen

07 of the United States with a green card. He has some criminal history in this country, including a

08 conviction for Burglary and Possession of a Driver’s License to Commit Forgery from

09 California.

10          3.     Defendant does not contest detention.

11          4.     Defendant poses a risk of nonappearance due to alleged fugitive status and

12 unknown background information, as well as lack of citizenship. He poses a risk of danger

13 based on the nature of the charges and criminal history.

14          5.     There does not appear to be any condition or combination of conditions that will

15 reasonably assure the defendant’s appearance at future Court hearings while addressing the

16 danger to other persons or the community.

17 It is therefore ORDERED:

18      1. Defendant shall be detained pending trial and committed to the custody of the Attorney

19          General for confinement in a correction facility separate, to the extent practicable, from

20          persons awaiting or serving sentences or being held in custody pending appeal;

21      2. Defendant shall be afforded reasonable opportunity for private consultation with

22          counsel;



     DETENTION ORDER
     PAGE -2
         Case 2:10-cr-00311-TSZ          Document 530       Filed 09/21/12      Page 3 of 3




01     3. On order of the United States or on request of an attorney for the Government, the

02        person in charge of the corrections facility in which defendant is confined shall deliver

03        the defendant to a United States Marshal for the purpose of an appearance in connection

04        with a court proceeding; and

05     4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

06        for the defendant, to the United States Marshal, and to the United State Pretrial Services

07        Officer.

08        DATED this 21st day of September, 2012.

09

10

11
                                                        A
                                                        Mary Alice Theiler
                                                        United States Magistrate Judge
12

13

14

15

16

17

18

19

20

21

22



     DETENTION ORDER
     PAGE -3
